                   Case 2:17-cr-00738-R Document 2 Filed 11/28/17 Page 1 of 2 Page ID #:5
                                                           UNITED STATES DISTRICT COURT
                                                          CENTRAL DISTRICT OF CALIFORNIA

                                                                       CASE SUMMARY                        ~~ ~          ~ ~ a~          ~


          Case Num~e           ~ ~ ~ 4~/               ~ ~~~~                 Defendant Number

              U.S.A. v. Theresa Tetley                                        Year of Birth 1967                                    —~

              ❑ Indictment               ~ Information         Investigative Agency (FBI, DEA, etc.) DEA, IRS

NOTE: All items are to be completed. Information not applicable or unknown shall be indicated as "N/A."

OFFENSE/VENUE                                                                 PREVIOUSLY FILED COMPLAINT

a. Offense charged as a:                                                      A complaint was previously filed on:
                                                                                                                               ~---•-
❑ Class A Misdemeanor            ❑Minor Offense        ❑ Petty Offense           Case Number                      1

❑ Class B Misdemeanor            ❑ Class C Misdemeanor         ~ Felony         Charging

b. Date of Offense: January 2014— March 2017
                                                                             The complaint:               ❑ is still pending
c. County in which first offense occurred:
                                                                                 ❑ was dismissed on:

                                                                             PREVIOUS COUNSEL
d. The crimes charged are alleged to have been committed in:

     CHECK ALL THAT APPLY                                                    Was defendant previously represented:       ❑ No            D Yes

          D Los Angeles                  ❑ Ventura                            If YES, provide, Name: Brian E. Klein
                                                                                             Phone Number: (424)652-7814
          ❑ Orange                       ❑Santa Barbara
          ❑ Riverside                    ❑San Luis Obispo                    COMPLEX CASE
          ❑ San Bernardino               ❑ Other                                Are there 8 or more defendants in the Indictment/Information?
Citation of Offense                                                                   ❑ Yes*                      D No
                                                                                Will more than 12 days be required to present government's
                                                                                evidence in the case-in-chief:
e. Division in which the MAJORITY of events, acts, or omissions                       ❑ Yes*                      ~ No
                                                                                *AN ORIGINAL AND 1 COPY (UNLESS ELECTRONICALLY FILED)
     giving rise to the crime or crimes charged occurred:
                                                                                OF THE NOTICE OF COMPLEX CASE MUST BE FILED ATTHE
D Western (Los Angeles, San Luis Obispo, Santa Barbara, Ventura)
                                                                                TIME THE INDICTMENT IS FILED IF EITHER "YES" BOX IS
❑ Eastern (Riverside and San Bernardino) ❑Southern (Orange)                     CHECKED.
RELATED CASE
                                                                             Superseding Indictment/Information
Has an indictment or information involving this defendant and
the same transaction or series of transactions been previously               IS THIS A NEW DEFENDANT?                 ❑Yes                        ❑ No
filed and dismissed before trial?        D No                 ❑Yes           This is the      N/A     superseding charge, i.e. 1st, 2nd.
     If YES        Case Number                                               The superseding case was previously filed on:
Pursuant to General Order 16-05, criminal cases may be related
if a previously filed indictment or information and the present              Case Number N/A_
case:                                                                        The superseded case:
a.    arise out of the same conspiracy, common scheme,                       ❑ is still pending before Judge/Magistrate Judge
      transaction, series of transactions or events; or
b.    involve one or more defendants in common, and would
                                                                             ❑ was previously dismissed on N/A
      entail substantial duplication of labor in pretrial, trial or
                                                                             Are there 8 or more defendants in the superseding case?
    sentencing proceedings if heard by different judges.                             ❑ Yes*                       D No
Related case(s), if any: MUST MATCH NOTICE OF RELATED                        Will more than 12 days be required to present government's
CASE                                                                         evidence in case-in-chief?      ❑Yes*                     D No


 CR-72(10/16)                                                         CASE SUMMARY                                                       Page 1 of 2
                  Case 2:17-cr-00738-R Document 2 Filed 11/28/17 Page 2 of 2 Page ID #:6
                                                          UNITED STATES DISTRICT COURT
                                                          CENTRAL DISTRICT OF CALIFORNIA

                                                                    CASE SUMMARY


  Was a Notice of Complex Case filed on the Indictment or                 CUSTODY STATUS
  I nformation?
                                                                            Defendant is not in custody:
           ❑ Yes                    ~X No
  *AN ORIGINAL AND 1 COPY OF THE NOTICE COMPLEX CASE MUST                   a.   Date and time of arrest on complaint: N/
  BE FILED ATTHE TIME THE SUPERSEDING INDICTMENT IS FILED IF
  EITHER "YES" BOX IS CHECKED.                                              b.   Posted bond at complaint level on: N/.

  Is an interpreter required?        ❑YES                 ❑X NO                  in the amount of $ N/
  If YES, list language and/or dialect:
                                                                           c.    PSA supervision:              ❑Yes             ❑ No

                                                                           d. Is on bail or release from another district:
  OTHER
                                                                                 N/A
    ❑ Male                         D Female
                                                                           Defendant is in custody:
    ❑ U.S. Citizen                 ❑Alien
                                                                           a.    Place of incarceration:       ❑State           ❑Federal
   Alias Names) "Bitcoin Maven"
                                                                           b.    Name of institution: N/,
   This defendant is charged in:          Ox All counts
                                                                           c.    If Federal: U.S. Marshal's Registration Number:
    ❑ Only counts:
    ❑ This defendant is designated as "High Risk" per                            N/A
       18 USC § 3146(a)(2) by the U.S. Attorney.
    ❑ This defendant is designated as "Special Case" per                   d.    ❑ Solely on this charge. Date and time of arrest:
       18 USC § 3166(b)(7).
   Is defendant a juvenile?               ❑Yes              D No
   If YES, should matter be sealed?       ❑Yes              D No           e.    On another conviction:        ❑Yes             D No
   The area of substantive law that will be involved in this case
                                                                                 I F YES:   ❑State             ❑ Federal        ❑Writ of issue
   includes:
   ~ financial institution fraud            ❑public corruption
                                                                           f.    Awaiting trial on other charges:     ❑Yes                ❑X No
   ❑ government fraud                       ❑tax offenses
                                                                                 I F YES:   ❑State             ❑ Federal        AND
   ❑ environmental issues                   ❑mail/wire fraud
                                                                                 Name of Court: N/A
   ❑ narcotics offenses                     ❑ immigration offenses
                                                                           Date transferred to federal custody: N/
   ❑ violent crimes/firearms                ❑corporate fraud

   ~ Other money laundering                                                This person/proceeding is transferred from another district
                                                                           Pursuant to F.R.Cr.P.             20            21             40

EXCLUDABLE TIME
Determinations as to excludable time prior to filing indictment/information. EXPLAIN:




          Date:       ~ i~
                                                                        Signature of Assistant U.S. Attorney
                                                                         Puneet V. Kakkar
                                                                         Print Name
   CR-72(10/16)                                                   CASE SUMMARY                                                  Page 2 of 2
